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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CLINICAL WOUND SOLUTIONS, LLC. )
                               )
     Plaintiff,                )
                               )
v.                             )                    Case No. 18-cv-07916
                               )
NORTHWOOD, INC.,               )                    Judge Martha M. Pacold
                               )                    Magistrate Judge M. David Weisman
     Defendant.                )

     MOTION FOR LEAVE TO ISSUE DISCOVERY AND FOR LEAVE TO RESPOND LATE

        Plaintiff, Clinical Wound Solutions, LLC (“Clinical”), by and through its undersigned

counsel, as its Motion for Leave to Issue Discovery and for Leave to Respond Late, states as

follows:

I.      The Defendant’s Motion to Dismiss has been fully briefed since February 21, 2019 yet
        no ruling has been issued.

        Plaintiff filed a four count complaint and there has been a Motion to Dismiss Counts

II through IV pending since February. It was never contemplated that a motion would be

pending for nine months without a ruling. Without knowing if the three counts at issue would

be dismissed or if leave would be granted for Plaintiff to amend its Complaint, it was

impossible for Plaintiff to issue meaningful and germane discovery before the ruling. The

propounding of discovery on a complaint in which three of the four counts faced dismissal

would not serve the economy of time efforts by either party. By not having a ruling on this

Motion to Dismiss, the Plaintiff was already outside the scope of the initial time period granted

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for discovery. By not knowing if the Plaintiff would be granted leave to amend its Complaint,

the Plaintiff was already outside of the scope of the initial time period granted for discovery

and would not be able to propound discovery germane to a possible amended complaint. The

failure to receive any ruling on the Defendant’s Motion to Dismiss is outside of the Plaintiff’s

control and Plaintiff should be granted time to issue discovery beginning on the date that the

ruling is issued.

II.     The Defendant previously admitted to the Court that a new discovery schedule would
        be needed.

        The parties submitted a joint Initial Status Report for Reassigned Case (Dkt. #41) on

October 10, 2019. In Section 2, Paragraph B, the parties stated that “A new discovery schedule

will be needed”. A new discovery schedule was discussed as early August, before the

discovery closure date. It is disingenuous for the Defendant to now argue that Plaintiff not be

allowed to respond late or issue discovery late in light of its admission in the Initial Status

Report. As discussed herein, as a result of not having a ruling on the Defendant’s Motion to

Dismiss during the originally granted discovery time period or up to the present date, the

parties truly are still not at issue. The Plaintiff has been precluded from issuing relevant and

germane discovery requests as it does not know which claims will survive or if leave will be

granted to file an amended complaint. The Plaintiff has been precluded from responding fully

to the Defendant’s requests as it does not know if any of the requests would be objectionable

based upon which claims of the complaint will survive. The Plaintiff should be granted leave

to issue its discovery and to respond to the discovery beginning on the date of the ruling on

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the Motion to Dismiss.

III.     The Discovery requested by the Defendant is outside of the customary documentation
         needed to prepare a complaint.

         The scope of the Defendant’s discovery requests, both the Interrogatories and the

Document Requests, goes well beyond the documents that would be needed prior to the filing

of a complaint. For example, Interrogatories relating to whether or not the Plaintiff was

terminated from any health plan in the last 10 years, or subject to any lawsuits or grievances

in the last 10 years, or requests for copies of all of the underlying physician’s prescriptions and

each claim submission for the unpaid invoices that cover 32 pages as Exhibit B of the Plaintiff’s

Complaint (Dkt. #1) and involve $196,769.30 of goods that were provided is meant only to

burden the Plaintiff. This type of documentation is not the type that would be reviewed as

preparation to draft a complaint and therefore had not already been gathered. As can be

evidenced by looking at the list of unpaid invoices attached to the Complaint, time is needed

to complete the investigation into the Defendant’s requests in order to provide any appropriate

documentation besides that which has already been provided.

IV.      The Defendant will not suffer any prejudice by the granting of an extension of time to
         the Plaintiff to issue discovery and to respond to the Defendant’s discovery requests.

         Through the time that the parties have waited for the ruling on the Defendant’s Motion

to Dismiss, it is the Plaintiff that has been prejudiced, not the Defendant. It is the Plaintiff that

does not know on which of its claims it will be allowed to proceed or if it will be allowed to

amend its complaint. It is the Plaintiff that has alleged that it delivered goods for which it did


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not receive payment. There has been no financial loss suffered by the Defendant as it did not

expend funds to pay for the goods that were supplied to the insureds. The Defendant has only

incurred the time that was expended by the drafting of their discovery requests. The granting

of an extension of time to the Plaintiff will not injure the Defendant. Time should be granted

to the Plaintiff to issue its discovery and to respond to the Defendant’s discovery beginning

on the date of the ruling on the Defendant’s Motion to Dismiss.

       WHEREFORE, the Plaintiff respectfully prays that this Honorable Court enter an order

granting Plaintiff leave to issue its discovery and leave to respond to the Defendant’s discovery

beginning as of the date of the ruling on the Defendant’s Motion to Dismiss, plus any further

relief in favor of the Plaintiff deemed just and proper.




Date: November 22, 2019              Respectfully submitted,

                                     By: /s/ Sandra T. Kahn
                                     Sandra T. Kahn
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                                     Counsel for the Plaintiff




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                                                    CERTIFICATE OF SERVICE

       I, the undersigned attorney, being first duly sworn under oath, depose and state that
I caused to be served the foregoing document by electronically filing the same with the Clerk
for the U.S. District Court for the Northern District of Illinois, Eastern Division, a copy of
which was then forwarded to each attorney of record by CM/ECF on November 22, 2019.

Date: November 22, 2019                                           By: /s/ Sandra T. Kahn
                                                                  Sandra T. Kahn
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